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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 TIMOTHY B. CURRY,                                 )
                                                   )
                  Plaintiff,                       )
                                                   )
         v.                                        )         Civil Action No. 21-1890 (ABJ)
                                                   )
 DEPARTMENT OF HOMELAND                            )
 SECURITY,                                         )
                                                   )
                  Defendant.                       )
                                                   )

                                            ANSWER

        Defendant United States Department of Homeland Security (the “Department”)

respectfully answers Plaintiff Timothy B. Curry’s complaint (the “Complaint”), ECF No. 1,

seeking agency records.

        The first unnumbered paragraph of the Complaint consists of Plaintiff’s characterization

of this action, to which no response is required. To the extent any response is required, denied.

                                        JURISDICTION

        1.       This paragraph contains Plaintiff’s conclusions of law, to which no response is

required. To the extent any response is required, Defendant admits that this Court has subject-

matter jurisdiction over this matter subject to the terms and conditions in applicable statutes, and

Defendant further admits that the Court has personal jurisdiction over Defendant.

                                             VENUE

        2.       This paragraph contains Plaintiff’s conclusions of law, to which no response is

required. To the extent any response is required, Defendant admits that venue is appropriate in

this judicial district.
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                                             PARTIES

       3.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       4.      Admitted as to the first sentence of this paragraph. The second sentence of this

paragraph contains Plaintiff’s conclusions of law, to which no response is required; to the extent

any response is required, denied.

                                            COUNT ONE

       5.      Admitted. Defendant further avers that on February 13, 2020, the Department’s

Office of the Chief Security Officer (“OCSO”) advised Plaintiff that he would need to submit a

separate request for certain records to the Department’s Privacy Office and that Plaintiff submitted

that request to the Privacy Office on February 26, 2020; Defendant avers that the request is the

best evidence of its contents.

       6.      Denied as to the first sentence of this paragraph. Defendant avers that on February

13, 2020, OCSO provided its final response to Plaintiff’s December 31, 2019, request for records

and that on July 27, 2021, the Privacy Office provided its final response to Plaintiff’s February 26,

2020, request for records. The second sentence of this paragraph consists of Plaintiff’s conclusions

of law, to which no response is required.

                                            COUNT TWO

       7.      Defendant repeats and restates its responses to paragraphs 1-6 of the Complaint

with the same force and effect as if the same were set forth fully herein

       8.      This paragraph contains Plaintiff’s conclusions of law, to which no response is

required.

       9.      Denied as to the first sentence of this paragraph. Defendant avers that on February

13, 2020, OCSO provided its final response to Plaintiff’s December 31, 2019, request for records,


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and that on July 27, 2021, the Privacy Office provided its final response to Plaintiff’s February 26,

2020, request for records. With respect to the second sentence of this paragraph, admitted that

Plaintiff’s counsel sought multiple extensions in an administrative proceeding, and the records are

the best evidence of their contents. Defendant lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in the third sentence of this paragraph.

        10.      This paragraph contains Plaintiff’s conclusions of law, to which no response is

required. To the extent paragraph 10 contains any allegations of fact, denied.

        11.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

        The remainder of the Complaint consists of Plaintiff’s requests for relief, to which no

response is required. To the extent any response is required, Defendant denies that Plaintiff is

entitled to the relief requested.

                                                 ***

        Defendant hereby denies each and every allegation in the Complaint not expressly admitted

or qualified above.

                                             DEFENSES

        Defendant reserves its right to amend, alter and supplement the defenses contained in this

Answer as the facts and circumstances giving rise to the Complaint become known to Defendant

through the course of the litigation.

                                          FIRST DEFENSE

        Plaintiff is not entitled to compel production of records exempt from disclosure by one or

more of the exclusions or exemptions to the FOIA or the Privacy Act.




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                                       SECOND DEFENSE

       The Court lacks subject matter jurisdiction over Plaintiff’s request to the extent that any

requested relief exceeds the relief authorized by the FOIA.

                                        THIRD DEFENSE

       Some of Plaintiff’s claims are barred by his failure to satisfy required prerequisites to suit.

Dated: August 26, 2021
                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS, D.C. Bar #415793
                                                Acting United States Attorney

                                                BRIAN P. HUDAK
                                                Acting Chief, Civil Division

                                                By: /s/ Marsha W. Yee
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                                                Counsel for Defendant




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